                  THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



 In re Application of KARAM SALAH AL
 DIN AWNI AL SADEQ and STOKOE
                                                     Misc. Civil Action No.
 PARTNERSHIP SOLICITORS for an
 Order Under 28 U.S.C. § 1782 to Conduct
 Discovery for Use in Foreign Proceedings.


                DECLARATION OF HARALAMBOS TSIATTALOU

      I, HARALAMBOS TSIATTALOU, do hereby declare under penalty of perjury

pursuant to 28 U.S.C. § 1746 the following:

Introduction

      1.       I am admitted to practice before the Courts of England and Wales, and I am

a partner at the UK-based law firm of Stokoe Partnership Solicitors (“Stokoe”) which is

the Claimant in civil proceedings pending in the High Court of Justice of England and

Wales, Queen’s Bench Division captioned: Stokoe Partnership Solicitors v. Mr. Patrick

Tristram Finucane Grayson, Grayson + Co Limited, Mr. Stuart Robert Page, and Page

Corporate Investigations Limited, Claim No., QB-2020-002492 (the “Grayson

Proceeding.”) I am also the Solicitor to the applicant Karam Salah Al Din Awni Al Sadeq

(“Mr. Al Sadeq”) in civil proceedings pending in the High Court of Justice of England and

Wales, Queen’s Bench Division captioned Karam Salah Al Din Awni Al Sadeq v. Dechert,

LLP, Neil Gerrard, David Hughes, and Caroline Black, Claim No. QB-2020-000322 (the

“Al Sadeq Litigation,” and, together with the Grayson Proceeding, the “Foreign




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Proceedings”). Stokoe was also the claimant in concluded High Court proceedings

captioned: Stokoe Partnership Solicitors v. Mr. Paul Robinson, Company Documents

Limited, and Mr. Oliver Moon, Claim No. QB-2020-002218 (the “Robinson Proceeding”

which, together with the Grayson Proceeding are referred to as the “Hacking Claims”).

       2.     I respectfully submit this Declaration in support of Mr. Al Sadeq and

Stokoe’s (collectively, the “Applicants”) application for an order under 28 U.S.C. § 1782

to conduct discovery for use in the Foreign Proceedings. As detailed below, the Al Sadeq

Litigation is brought against the UK-based law firm of Dechert LLP (“Dechert UK”) and

three of its current/former partners, who it is claimed committed various acts of

wrongdoing in breach of UAE civil and criminal laws.

       3.     As set forth below, the Hacking Claims were brought against individuals who

have engaged in unlawfully obtaining confidential information from Stokoe and others

associated with Mr. Al Sadeq’s legal representation in the Al Sadeq Litigation through

means of a hacking and surveillance campaign. The discovery sought here, information,

documents, and material related to the hacking campaign targeting Stokoe, Detained in

Dubai, 4 Stone Buildings, and Maltin Litigation Support Group (collectively, “Mr. Al

Sadeq’s Legal and Support Team”), will shed further light on the Al Sadeq Litigation

defendants’ pattern of human rights abuses, their efforts to conceal their unlawful conduct,

and their attempts to intervene with Mr. Al Sadeq’s legal representation.




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The Al Sadeq Litigation

          4.   The Al Sadeq Litigation concerns misconduct and human rights abuses

committed against Mr. Al Sadeq by Neil Gerrard (“Gerrard”), a solicitor and partner in

Dechert UK, and the other defendants in connection with their investigation of fraud

allegedly perpetrated against the RAK Investment Authority (“RAKIA”). A copy of the

claim (hereinafter, the “Al Sadeq Claim”), filed by Mr. Al Sadeq is annexed as Exhibit A

hereto.

          5.   The nature of the allegations in the Al Sadeq Litigation are detailed in

paragraph 9 of the Al Sadeq Claim. In summary, Mr. Al Sadeq’s claims include allegations

that the defendants were implicated in:

               a. The kidnap and extraordinary rendition of Mr. Al Sadeq from Dubai to

                  RAK (see paragraphs 40 to 47 of the Al Sadeq Claim);

               b. Mr. Al Sadeq’s unlawful detention without arrest or charge, including a

                  period of detention in solitary confinement, under a false name, with no

                  access to legal representation (see paragraphs 105 to 109 of the Al Sadeq

                  Claim);

               c. The interrogation of Mr. Al Sadeq. In particular, Mr. Al Sadeq contends

                  that during the first of his interrogations by Mr. Gerrard, he was

                  blindfolded with his hands tied behind his back and had no lawyer present

                  (see paragraph 64 of the Al Sadeq Claim);




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               d. Threats and unlawful pressure made to Mr. Al Sadeq, his wife, and

                  children, including a promise by Mr. Gerrard and Ms. Black that Mr. Al

                  Sadeq’s prison conditions could be improved if he “cooperated” with them

                  (see paragraphs 65 to 67, 89 to 98, and 120 to 130 of the Al Sadeq Claim);

                  and

               e. The procurement of false confessions signed by Mr. Al Sadeq, but drafted

                  by Mr. Gerrard and Mr. Hughes, in circumstances where Mr. Al Sadeq

                  was detained in the above conditions, did not have access to legal

                  representation, and had made it clear that the confessions were untrue (see

                  paragraphs 183 to 184 of the Al Sadeq Claim).

       6.      The allegations made by Mr. Al Sadeq are of an extremely serious nature.

That is all the more so in circumstances where they are made against senior lawyers and a

global law firm of international repute. As a consequence, the Al Sadeq Litigation has

generated a significant degree of publicity in the UK.

The Involvement of Stokoe Partnership Solicitors in the Al Sadeq Litigation

       7.      Stokoe was first retained to act in the Al Sadeq Litigation in October 2019.

Since that time, there has been a correlation between the progress of the Al Sadeq Litigation

and attempts to obtain confidential information from Stokoe and others in relation to those

proceedings.

       8.      The Claim Form in the Al Sadeq Litigation was issued on January 28, 2020.

Although it was not served at that time, the allegations were made public in a press release

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published by Detained in Dubai on the date of issue. The Claim Form, which was made

available online, was much more detailed than the amended version ultimately served with

the Particulars of Claim and contained details of Mr. Al Sadeq’s claim and the nature of

the allegations made against the Al Sadeq Litigation defendants. It also, of course, stated

that Stokoe was acting on behalf of Mr. Al Sadeq.

       9.     Mr. Al Sadeq’s Amended Claim Form and Particulars of Claim were served

on March 31, 2020 and April 1, 2020. As set out at paragraph 215 of the Al Sadeq Claim,

my firm’s ability to take instructions from Mr. Al Sadeq has been impeded in various ways

since the Al Sadeq Litigation was issued.

       10.    Between February and March 2020, I travelled to Dubai with other members

of Mr. Al Sadeq’s Legal Team to meet with Dr. Al Haddad, Mr. Al Sadeq’s local counsel,

to meet with Mr. Al Sadeq in prison. We were not, however, permitted to visit Mr. Al

Sadeq on those occasions. During these trips, my colleagues and I were the subject of

surveillance activities, including an apparent break-in to my hotel room, the presence of

surveillance agents at my hotel (where I attended privileged meetings in relation to the

conduct of the Al Sadeq Litigation), and an attempt to follow me to a privileged meeting

at a different location. I believe these matters were also connected to the Al Sadeq litigation

and that they were intended to disrupt my ability to obtain instructions (as they in fact did).

       11.    During one of the visits that took place in March 2020, I was accompanied

by Mr. Arthur Maltin of Maltin Litigation Support Group, a legal public relations firm

working in connection with the Al Sadeq Litigation, and Alastair Tomson, junior counsel

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instructed in the Al Sadeq Litigation. During this visit we were subject to intimidation and

surveillance. The fact of the surveillance was confirmed to me by an obviously frightened

hotel employee who told me:

               “You’re being followed/watched by security services. They are very
               serious people. Nobody can stand in their way.”

         12.   One of the persons I believe conducted this surveillance is Mr. Stuart Page.

Mr. Page has denied this (although he accepts that he was in the same hotel as myself and

my party in Dubai on March 6, 2020). Mr. Page’s evidence was the subject of heavily

adverse comment by Judge Lenon QC in a related proceeding which I detail further below.

Stokoe Learns It Is the Subject of Attempted Hacking

         13.   In late March 2020, Mr. Oliver Moon, a private investigator, turned whistle-

blower, informed Mr. Alexander Sawyer (who works in corporate intelligence via a

company called Quaestio), that he had been instructed by a “Source A2”, as he was

described in the Robinson Proceeding (and who was later revealed to be a Mr. John

Gunning), to make attempts to gain access to Stokoe’s confidential information. These

instructions continued throughout April 2020 and included hacking Stokoe’s bank

accounts, including its client account. It was subsequently discovered that Source A2’s

instructions had in turn derived from a Mr. Paul Robinson, another private investigator.

Mr. Moon had previously been instructed by Mr. Sawyer to undertake work for Stokoe

(although this was unknown to Stokoe), which is presumably why he turned to Mr. Sawyer,

motivated no doubt by moral compunction about carrying out what he had been instructed

to do.
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       14.    As he has since confirmed in an affidavit, Mr. Moon was also instructed to

procure confidential information—including accessing their bank accounts—about others

assisting Mr. Al Sadeq, namely, Maltin Litigation Support Group and Ms. Radha Stirling

(“Stirling”) (who works for the London-based human rights advocacy organization

“Detained in Dubai”). The timing and coordination of this hacking demonstrates that it is

designed to interfere with the Al Sadeq Litigation, and to undermine the sanctity of the

confidential relationship between solicitor and client. For instance, just after the claim

form and Particulars of Claim were served in the Al Sadeq Litigation and a couple of weeks

before Dechert’s solicitors made enquiries of Stokoe as to who was funding that litigation,

Mr. Moon was instructed to obtain Stokoe’s banking co-ordinates.

       15.    On April 21, 2020, Mr. Gunning was instructed to ascertain my movements

“in and out of Dubai—for Feb 2020.” As mentioned above, I was in Dubai in February

2020 obtaining instructions in relation to the Al Sadeq Litigation, and became aware that I

was the subject of surveillance and an unlawful break in.

       16.     There can be no doubt that the attempted hacking of Stokoe was motivated

by, and relates to, its retainer by Mr. Al Sadeq.

The Azima Litigation

       17.    There were also incidents of hacking in connection with a related litigation

captioned Ras Al Khaimah Investment Authority v. Azima (the “Azima Litigation”), in

which judgment was handed down by Judge Andrew Lenon QC on May 22, 2020. A copy

of the Judgment in the Azima Litigation is annexed as Exhibit B hereto.

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        18.   The Azima Litigation concerned claims brought by RAKIA against Mr.

Farhad Azima, a US businessman involved in the aviation industry who had been party to

a number of business ventures with RAKIA and other RAK entities between 2007 and

2016.

        19.   As recorded at paragraphs 2 and 30 of the judgment in the Azima Litigation,

part of the factual background to that case involved an investigation conducted by RAKIA

from around late 2014 into RAKIA’s former Chief Executive Officer, Dr Massaad. This

background overlaps with the investigations that are in issue in the Al Sadeq Litigation. In

particular, the question of whether human rights abuses had been committed against Mr.

Al Sadeq also, became an issue in the Azima Litigation. See Ex. B, ⁋⁋ 201.1-201.8

        20.   In the course of the Azima Litigation, it became clear that in January 2015

the Ruler of RAK had engaged a private investigator, Mr. Stuart Page, to investigate the

activities of Dr. Massaad. See Ex. B, ⁋⁋ 261, 262. So far as I am aware, Mr. Page has a

strong presence in Dubai and also has connections to companies incorporated in the UK.

        21.   On March 6, 2020, I personally witnessed Mr. Page whilst staying at the One

and Only on the Palm Hotel in Dubai. I believe that this encounter was connected to acts

of surveillance that I describe above.

        22.   An issue that arose in the Azima Litigation was whether RAKIA’s case

against Mr. Azima was based on evidence obtained as a result of hacking Mr. Azima’s

email account, including by the device of a spear-phishing email. See Ex. B, ⁋ 294. In

particular, Mr. Azima asked the Court to find that RAKIA was responsible for that hacking,

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and that RAKIA’s claim should therefore be struck out as an abuse of process. See Ex. B,

⁋ 384.

         23.    During a hearing in the Azima Litigation, Mr. Page testified that in the course

of his investigation into collusion between Dr. Massaad and members of the Ruler’s family,

he utilized the services of Insight, an Israeli company, who “were specialists at obtaining

information from confidential sources” engaged in gathering electronic data which

included “using the dark web, open source information on the internet.” Ex. B, ¶ 269.

         24.    Gerrard also testified that the information, which formed the basis of the

fraud accusations RAKIA brought against Mr. Azima, was obtained through hacking into

Mr. Azima’s personal accounts. A copy of the transcript of Day 5 of the hearing, which

took place on January 28, 2020, and is annexed hereto as Exhibit C. See Ex. C, p. 69-70.

         25.    Nicholas Del Rosso (“Del Rosso”), owner and president of Vital

Management Services Inc. (“Vital Management”), provided a witness statement and

testimony in the same proceeding whereby he set forth evidence that Gerrard contacted

him in early August 2016 and informed Del Rosso that Mr. Page had identified two links

on the internet which contained data relating to Mr. Azima. A copy of Del Rosso’s witness

statement, dated June 21, 2019, and a copy of the transcript of Day 7 of the hearing, which

took place on January 30, 2020, are annexed hereto as Exhibit D and Exhibit E

respectively.

         26.    Del Rosso claimed that Gerrard simply asked him to download the data from

those two links, and in following those instructions, he contacted Richard Garcia of

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Northern Technology Inc. (“NTi”), a U.S. based firm, to download the content from the

two internet links. Ex. D, ¶¶ 5-7, 9.

       27.    Del Rosso further asserted that sometime in early September 2016 he learned

of two additional links that could have possibly contained data concerning Mr. Azima and

that he instructed NTi to download the data contained on those links as well. Ex. D, ¶¶ 15-

16.

       28.    Del Rosso further stated that from early August 2016 through September

2016, NTi downloaded the data from the identified links. Ex. D, ¶¶ 13-19.

       29.    Through his witness statement and the testimony he proffered, Del Rosso

maintained that he was not involved in the investigation into Mr. Azima and denied having

any knowledge that the information found on the internet links was unlawfully obtained.

Ex. D, ¶ 20; Ex. E, pp. 64, 93-94.

       30.    The Judge did not accept Mr. Azima’s submission that RAKIA was

responsible for the hacking of his emails. Ex. B, ¶ 381. Nor did the Judge make any

finding of wrongdoing on the part of Mr. Page, although he did make findings as to the

world in which Mr. Page operated. Ex. B, ¶ 369.

       31.    In particular, the Judge found that:

              These cases highlight the fact that Mr Page operates in a world of
              covert surveillance in which agents acquire confidential information
              unlawfully and that Mr Page has dealings with such agents. It would
              be a reasonable inference to draw from these incidents that Mr Page
              has access to agents with the capacity to hack emails . . . these other
              incidents do not establish that Mr Page ever personally carried out or
              authorised the unlawful obtaining of confidential information and

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                therefore do not affect my assessment of the likelihood of Mr Page
                acting unlawfully in this case.

Ex. B, ¶ 369.

       32.      On October 15, 2020, Mr. Azima filed a complaint in this District against

Del Rosso and Vital Management, alleging, inter alia, that Del Rosso through Vital

Management oversaw and directed the hacking of Mr. Azima’s personal information by

utilizing the services of CyberRoot Risk Advisory Private Limited (“CyberRoot”) and

BellTroX Info Tech Services (“BellTroX”) which are well known hack-for-hire

organizations located in India. A copy of the complaint, filed by Mr. Azima, is annexed

as Exhibit F hereto. Mr. Azima alleges that Del Rosso paid CyberRoot more than $1

million to hack Mr. Azima’s personal and confidential information and post that

information online. Ex. F, p. 7-9. A whistleblower who is employed by CyberRoot and

who has legitimate access to the company’s bank account has provided copies of what the

Applicants believe are CyberRoot’s bank account statements with Kotak Mahindra Bank.

A copy of CyberRoot’s bank account statements reflecting payments made by Vital

Management to CyberRoot is annexed as Exhibit G hereto in redacted form to eliminate

references to entities other than Vital Management and to eliminate account numbers.

The Robinson Proceeding

       33.      As mentioned above, in late March 2020, Mr. Moon informed Mr. Sawyer

of Quaestio that he had been instructed to obtain confidential information from Stokoe.

Mr. Moon agreed to work with Stoke and Mr. Sawyer to establish the nature and origin of

the requests.

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      34.    I was informed by Quaestio (and Mr. Moon has in an affidavit dated July 2,

2020 confirmed) that, pursuant to the arrangement, Mr. Moon received the following

instructions from “Source A2” (an individual Stokoe eventually identified as Mr. John

Gunning):

            a. On April 2, 2020, Mr Moon was instructed to obtain, amongst other things,

               the Stokoe’s banking coordinates.

            b. On April 9, 2020, Mr. Moon was instructed to access Stokoe’s trading

               bank account and transactional data for the business bank account for the

               last three months. This period broadly coincides with the period that had

               elapsed since the issue of the Claim Form in the Al Sadeq Litigation.

            c. On April 21, 2020, Mr. Moon was instructed to provide information

               relating to my movements in and out of Dubai in February 2020. This

               period broadly coincides with the period that I attempted to visit Mr. Al

               Sadeq in the United Arab Emirates. As I have detailed above, when I

               visited Dubai during this time, I was subjected to covert surveillance.

            d. On April 22, 2020, Mr. Moon was instructed to provide information

               relating to Stokoe’s client account, including transactional information for

               the month of March 2020.         Mr. Moon was told that it was likely

               information would also be sought for the period November 2019 to

               February 2020, a period overlapping almost exactly with the period of Mr.

               Al Sadeq’s retainment of Stokoe.

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          35.   Mr. Sawyer liaised with Stokoe to provide Mr. Moon with Stokoe’s bank

account documents in a format which allowed covert tracking, to identify the recipients of

those documents. In this way, Quaestio established that Mr. Moon was instructed by Mr.

John Gunning, who was in tum instructed by Mr. Paul Robinson. Quaestio’s findings are

set out in a report, dated June 27, 2020, which is annexed hereto as Exhibit H.

          36.   Based on this information, Stokoe initiated the Robinson Proceeding in the

High Court of Justice of England and Wales, Queen’s Bench Division seeking, inter alia,

to enjoin, and to obtain affidavits from, Mr. Moon, Mr. Gunning, and Mr. Robinson. A

copy of the form of claim filed by Stokoe Partnership Solicitors is annexed as Exhibit I

hereto.

          37.   Proceedings against Mr. Robinson were stayed by a consent order sealed by

Justice Chamberlain, (the “Chamberlain Order”). A copy of the Chamberlain Order is

annexed as Exhibit J hereto. Pursuant to the Chamberlain Order, Mr. Robinson undertook

to “swear an affidavit stating on oath . . . the identity of any person who has requested” that

he “obtain Confidential Information from” Stokoe. Ex. J, ¶¶ 1, 1.1. Mr. Robinson swore

an affidavit (the “Robinson Affidavit”) wherein he stated that Mr. Patrick Grayson was the

source of these instructions. A copy of the Robinson Affidavit is annexed as Exhibit K

hereto. Ex. K, ¶ 8.

          38.   By letter dated November 30, 2020, Mr. Page’s attorney, Stephenson

Harwood, sent a letter to Stokoe with invoices for the corporate research undertaken by

Company Documents Limited, Mr. Robinson’s company, on behalf of Page Corporate

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Investigations Limited (London) and Page Group ME JLT (Dubai). One of the invoices

from March 19, 2020, showed that the subject of an investigation was the Brendale Group,

a group of companies associated to Mr. David Haigh who has been closely associated to

Radha Stirling and who are both named in a press release attributing to their associations

and linked companies. Another invoice from October 4, 2017, shows that a group of

companies that were involved in RAKIA’s case against Mr. Mikadze were the subject of

an investigation by Mr. Robinson’s company as instructed by Mr. Page. The companies

under investigation were all connected to Gela Mikadze who was another individual

investigated by Gerrard and RAKIA in connection with Dr. Massaad.

The Grayson Proceeding

       39.    Stokoe therefore brought further proceedings against Mr. Grayson (amongst

others) by Claim Form dated July 16, 2020. Copies of the form of claim and Particulars of

Claim filed by Stokoe are annexed as Exhibit L and Exhibit M hereto. Those proceedings

were brought, inter alia, to compel Mr. Grayson and Mr. Grayson’s associated company,

Grayson + Co Ltd, to reveal the source of their instructions, any further wrongdoing, and

to obtain injunctive relief to prevent them from further wrongdoing.

       40.    The application against Mr. Grayson and Grayson + Co Ltd resulted in a

consent order made by Justice Tipples, (the “Tipples Order”). A copy of the Tipples Order

is annexed as Exhibit N hereto. Pursuant to the Tipples Order, Mr. Grayson and Grayson+

Co Ltd undertook to “swear an affidavit stating on oath . . . the identity of any person who

has requested that he “obtain Confidential Information from” Stokoe. Ex. N, ⁋⁋ A.4, 4.1.

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       41.    Mr. Grayson’s affidavit (the “Grayson Affidavit”) was notably brief. He

stated that: “Nobody requested me to obtain Confidential Information from or pertaining

to [Stokoe], directly or indirectly.” A copy of the Grayson Affidavit is annexed as Exhibit

O hereto. Ex. O. ⁋ 4.1.

       42.    Mr. Grayson’s affidavit was in stark contradiction to Mr. Robinson’s

affidavit which set forth that Mr. Robinson received instructions from Mr. Grayson to

obtain confidential information from Stokoe. See Ex. K, ⁋ 8.

Receipt of Phishing Emails

       43.    Since the issue of proceedings in the Al Sadeq Litigation, I, along with others

involved in the Al Sadeq Litigation, have received numerous emails and text messages

which appear to be targeted attempts to access personal data. I believe that these attempts

amount to phishing or spear-phishing; i.e. communications which seek to trick the recipient

into clicking on a link to a website which itself contains malicious software which is

downloaded onto the recipient's device. Spear-phishing is a more sophisticated form of

phishing where the communication contains specific information, targeted at the recipient,

which makes it more likely that the recipient will click on the link.

       44.    In particular, Stirling, who has published articles about the Al Sadeq

Litigation and has aided Mr. Al Sadeq in raising awareness amongst human rights activists

and non-governmental organizations about his case, received a phishing email from a

Google Inc. (“Google”) account, dutrouxjustine@gmail.com. That same email address

sent a phishing email containing Android Package files (“APK files”) to Detained in Dubai.

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An analysis conducted of those APK files showed that the APKs communicated with a

number of Ngrok server addresses. Stirling was also the subject of approximately four (4)

phishing attempts using content hosted on Dropbox Inc. (“Dropbox”) sent to her email

address radha@radhastirling.com. Approximately twenty-six (26) phishing attempts were

sent to the email addresses of Alastair Tomson (“Tomson”) of 4 Stone Buildings, Nick

Wright (“Wright”) of 4 Stone Buildings, and Stirling from domains hosted by Cloudflare

Inc. (“Cloudflare”). In addition, Google Firebase accounts were used in approximately

twenty (20) phishing attempts targeting the email accounts of Tomson, Wright, Stirling,

and Tim Maltin, of Maltin Litigation Support Group. It is believed that these hacking

attempts were perpetuated by individuals associated with the defendants in the Al Sadeq

Litigation as part of an attempt to interfere with Mr. Al Sadeq’s legal representation. It is

believed that these hacking attempts were perpetrated by individuals associated with the

defendants in the Al Sadeq Litigation as part of an attempt to interfere with Mr. Al Sadeq’s

legal representation.

Cyber Attack on Stokoe IT Systems

       45.    At approximately 5:45 a.m. on November 5, 2020, just days before a hearing

in the High Court was scheduled in the Robinson and Grayson Proceedings, hackers broke

into Stokoe’s cloud-based IT system which the firm uses to conduct its day-to-day

business. By approximately 8:45 a.m., Stokoe’s IT provider was able to take measures to

protect Stokoe’s data and that of ten other law firms potentially affected. Consequently,

Stokoe was unable to gain access to their IT system until November 9, 2020. During the

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time that the IT system was down, Stokoe faced significant impediments in carrying out

their day-to-day business activities, including the inability to receive emails on their work

addresses. Stokoe was informed by its IT provider that after evaluating the password used

to orchestrate the hacking, it determined that the hacking was linked specifically to Stokoe

(rather than any of the ten other law firms affected) and that Stokoe’s financial material

and banking data were accessed.

The Discovery Sought

       46.    Stokoe has been operating since 1994. As a firm, we have never before 2020

been affected by such cyberattacks. I believe that these various attempts to access Stokoe’s

confidential information are linked to its representation of Mr. Al Sadeq. Beyond the

confidential information that was sought from Stokoe as described above, in Mr.

Robinson’s affidavit, he stated that he received the following requests for information:

             a. Information about Ms. Stirling’s whereabouts, telephone numbers, and

                   banking information; and

             b. Financial records and monthly transactional data from the bank account of

                   Maltin PR.

Ex. F, ⁋⁋ 12-15.

       47.    Mr. Al Sadeq’s Legal and Support Team has been, and remains, a target of a

complicated and coordinated campaign by unknown perpetrators, within the context of

their involvement in the ongoing Al Sadeq Litigation.




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       48.    Accordingly, upon information and belief, Del Rosso and Vital Management

have information, documents, and material which would provide evidence necessary to

establish the identity of the ultimate perpetrators behind the hacking campaign targeted

against Mr. Al Sadeq’s Legal Team, and in turn, aid Mr. Al Sadeq in proving the

defendants’ ongoing pattern of human rights abuses, their efforts to interfere with Mr. Al

Sadeq’s access to legal representation, and their willingness to go to extreme lengths to

conceal their unlawful conduct.

       49.    For these reasons, it is respectfully requested that this Court grant the

Application in its entirety.



                         [Signature appears on the following page]




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